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               IN THE UNITED STATES DISTRICT COURT FOR THE

                            DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                    8:07CR188
                              )
          v.                  )
                              )
JOSE A. HERNANDEZ,            )                        ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on plaintiff’s motion

to dismiss without prejudice the indictment against defendant

Jose A. Hernandez (Filing No. 59).          The Court finds said motion

should be granted.       Accordingly,

           IT IS ORDERED that said motion is granted; the

indictment is dismissed without prejudice against defendant Jose

A. Hernandez only.

           DATED this 7th day of December, 2007.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ______________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
